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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-01877-JRG-RSP
                                    §
vs.                                 §             LEAD CASE
                                    §
AMERICAN HONDA MOTOR CO, INC. §
                                    §
      Defendant.                    §
___________________________________ §
                                    §
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-01646-JRG-RSP
                                    §
.vs.                                §             CONSOLIDATED CASE
                                    §
CELLCO PARTNERSHIP d/b/a            §
VERIZON WIRELESS                    §
                                    §
      Defendants.                   §
___________________________________ §


                                         ORDER

      On this day the Court considered the Unopposed Motion to Dismiss Cellco Partnership
d/b/a Verizon Wireless. It is therefore ORDERED that all claims by and between parties are
hereby DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and
        SIGNED
attorneys’ fees. this 3rd day of January, 2012.
       SIGNED this 26th day of August, 2016.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
